Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 1 of 49 Page ID #:1029




    1   BONNETT FAIRBOURN FRIEDMAN
         & BALINT, P.C.
    2   Andrew S. Friedman (admitted Pro Hac Vice)
        afriedman@bffb.com
    3   Francis J. Balint, Jr. (admitted Pro Hac Vice)
        fbalint@bffb.com
    4   2325 East Camelback Road, Suite 300
        Phoenix, Arizona 85016
    5   (602) 274-1100; Fax: (602) 274-1199
    6   CONSUMER WATCHDOG                               THE MOSKOWITZ LAW FIRM
        Harvey Rosenfield (SBN: 123082)                 Adam M. Moskowitz
    7   harvey@consumerwatchdog.org                     (admitted Pro Hac Vice)
        Jerry Flanagan (SBN: 271272)                    adam@moskowitz-law.com
    8   jerry@consumerwatchdog.org                      Howard Bushman
        6330 San Vicente Blvd., Suite 250               (admitted Pro Hac Vice)
    9   Los Angeles, CA 90048                           howard@moskowitz-law.com
        (310) 392-0522; Fax: (310) 392-8874             2 Alhambra Plaza, Suite 601
   10                                                   Coral Gables, FL 33134
                                                        (305) 479-5508
   11
        [Additional Counsel on Signature Page]
   12   Attorneys for Plaintiffs
   13                       UNITED STATES DISTRICT COURT
   14                     CENTRAL DISTRICT OF CALIFORNIA
   15   GAIL THOMPSON, HANS SUNDER in                    Case No. 2:18-cv-05422-CAS-GJSx
        his capacity as Trustee for the SUNDER
   16   IRREVOCABLE TRUST, BELINDA                       FIRST AMENDED CLASS
        BUCCI, in her capacity as Trustee of the         ACTION COMPLAINT
   17   NANCY AND CHARLES BARCELONA                      DEMAND FOR JURY TRIAL
        IRREVOCABLE TRUST, DEBRA
   18   LEWIS, DIANA LEWIS, MICHAEL H.                   1.   Breach of Contract
        STEPHENS, SANDRA ROSNER in her                   2.   Breach of the Implied Covenant
   19   capacity as Trustee of the ROSNER 1998                of Good Faith and Fair Dealing
        IRREVOCABLE TRUST DATED 5/19/98,                 3.   Breach of Duty of Good Faith
   20   KATHLEEN M. SWIFT, and MARC                           and Fair Dealing
        SOBLE, as Trustee for the MARILYN B.             4.   Injunctive and Restitutionary
   21   SOBLE IRREVOCABLE TRUST DATED                         Relief pursuant to Cal. Bus. &
        11/19/1997, individually and on behalf of             Prof. Code §17200, et seq.
   22   themselves and all others similarly situated,    5.   Declaratory Relief
                                                         6.   Preliminary and Permanent
   23                Plaintiffs,                              Injunctive Relief
                                                         7.   Elder Abuse pursuant to Cal.
   24         vs.                                             Wel. & Inst. Code §15657.5, et
                                                              seq.
   25   TRANSAMERICA LIFE INSURANCE
        COMPANY,
   26
                     Defendant.
   27
   28
                                   CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 2 of 49 Page ID #:1030




     1         Plaintiffs, by and through their undersigned attorneys, bring this action on
     2 behalf of themselves and all others similarly situated against Defendant
     3 Transamerica Life Insurance Company (“Transamerica”). Plaintiffs allege the
     4 following on information and belief, except as to those allegations that pertain to
     5 the named Plaintiffs, which are alleged on personal knowledge.
     6                             NATURE OF THE ACTION
     7               This is a class action brought by Plaintiffs on behalf of themselves and
     8 all similarly situated owners (the “Policyholders”) of Transamerica TransUltra 115
     9 and TransSurvivor 115 universal life policies (collectively, the “Policies”). Unlike
    10 whole life insurance policies that require fixed monthly premium payments, the
    11 premiums required for universal life policies are flexible and need only be sufficient
    12 to cover cost of insurance charges – denominated in the Transamerica Policies as
    13 the “Monthly Deduction” – and certain other specified expenses. The Monthly
    14 Deduction charge – an amount calculated using a Monthly Deduction Rate
    15 (“MDR”) – is the highest policy charge that the Policyholder pays.
    16               Under the Policies, Transamerica agreed that any changes in the MDRs
    17 (a) would be subject to its “expectations as to future cost factors” and (b) would not
    18 “recover prior losses” so as to increase the profitability of the Policies in future
    19 years to a level higher than Transamerica projected for those Policies based on
    20 reasonable assumptions for the same years when it issued the Policies.
    21 Transamerica also agreed that it would credit interest to the Policies’ accumulation
    22 values at a guaranteed annual rate of 4.0%.
    23               The Policies were marketed with an optional rider known as the
    24 Endorsement to Modify Grace Period or Assured Coverage Endorsement or other
    25 similar no-lapse provisions (collectively “No-Lapse Endorsement”). Under the No-
    26 Lapse Endorsement, Transamerica promised to provide guaranteed-for-life
    27 coverage (also known as a no-lapse guarantee, guaranteed death benefit or
    28
                                                  1
                                   CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 3 of 49 Page ID #:1031




     1 “secondary guarantee”) ensuring that the Policy would remain in effect for a
     2 guaranteed period even if the Policy’s accumulation value was insufficient to cover
     3 the required Monthly Deductions withdrawn from the accumulation account.
     4               The TransUltra 115 and TransSurvivor 115 Policies were issued
     5 twenty or so years ago. Consequently, a majority of the Policyholders are now
     6 elderly; many of them are 75 years old or older. Plaintiffs and the other members of
     7 the proposed classes bought the Policies so that they and their families would be
     8 protected by life insurance coverage as they entered their senior years. To that end,
     9 the Policyholders were promised the protection of the contractual guarantees that
    10 their Policies would be credited with interest not less than 4% and that Transamerica
    11 would not raise the MDRs to increase its own profits at their expense. Those
    12 Policyholders who purchased the No-Lapse Endorsement and complied with its
    13 terms received the additional contractual protection that their Policies would not
    14 lapse even if the accumulation value at some point in the future became insufficient
    15 to pay required Monthly Deductions due to declining interest rates or legitimate
    16 MDR increases.
    17               Effective October 1, 2017, however, Transamerica suddenly,
    18 unilaterally, and massively began increasing the MDRs applicable to the TransUltra
    19 115 Policies occurring on the next policy anniversary dates (the “TransUltra MDR
    20 Increases”). Effective June 1, 2018 Transamerica likewise unilaterally and
    21 massively began increasing the MDRs applicable to the TransSurvivor 115 Policies
    22 occurring on the next policy anniversary dates (the “TransSurvivor MDR
    23 Increases”). Certain of the Policies were subjected to a level rate increase of 47%
    24 and 58%, respectively. Others were hit with a 39% increase effective on the next
    25 policy anniversary date, followed by another 39% increase in each of the following
    26 two years, compounded each year, effectively ratcheting the increase to 169% after
    27 the third contemplated increase. The massive TransUltra MDR Increases and
    28
                                                 2
                                  CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 4 of 49 Page ID #:1032




     1 TransSurvivor MDR Increases (collectively, “the MDR Increases”) have depleted
     2 (and unless enjoined will continue to deplete) the Policies’ accumulation values to
     3 the point where they are or will be insufficient to pay the exponentially higher
     4 Monthly Deductions, which in turn will trigger certain termination provisions of the
     5 No-Lapse Endorsements resulting in forfeiture of the promised no-lapse
     6 protections.
     7                In its notices to Policyholders announcing the MDR Increases,
     8 Transamerica stated that the increases are “in addition to the customary increases
     9 that are associated with age,” and attributed them to Transamerica’s “current
    10 expectations about our future costs to provide this coverage.” Transamerica’s true
    11 reasons for imposing the drastic MDR Increases, however, were: (a) to increase its
    12 own projected future profits at the expense of the Policyholders, thereby
    13 contravening the contractual prohibitions against recouping past losses or imposing
    14 MDR increases for reasons other than legitimate cost factors; (b) to avoid its own
    15 contractual obligations to pay guaranteed interest under the Policies and to provide
    16 no-lapse coverage under the No-Lapse Endorsement, thereby contravening its duty
    17 to treat Policyholders in good faith; and (c) to induce policy terminations by elderly
    18 Policyholders, also in bad faith.
    19                As a direct result of the MDR Increases, the largely elderly
    20 Policyholders are now suddenly facing termination of their life insurance at a time
    21 when they can no longer obtain replacement coverage.
    22                As alleged below, the MDR Increases violate the express and implied
    23 terms of the Policies and were imposed on the Policyholders in bad faith and in
    24 contravention of California’s Unfair Competition Law (“UCL”), and a violation of
    25 California’s Elder Abuse Statutes. Plaintiffs in this action seek injunctive and
    26 equitable relief, and ancillary damages, to halt and reverse Transamerica’s massive
    27 MDR Increases. These increases have already injured Plaintiffs and, if allowed to
    28
                                                  3
                                   CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 5 of 49 Page ID #:1033




     1 proceed, will continue to cause irreparable injury to Plaintiffs and other members
     2 of the putative classes (collectively “Class Members”).
     3                                    THE PARTIES
     4               Plaintiff Gail Thompson (“Thompson”) is a 68-year-old elderly
     5 woman and citizen of the State of California. Thompson is the owner and primary
     6 beneficiary of a TransSurvivor 115 universal life insurance policy (Policy No.
     7 60060850) issued on or about July 1, 2000, with a face amount of $500,000.
     8               Plaintiff Hans Sunder (“Sunder”) is a citizen of the State of Texas.
     9 Sunder is the Trustee of the Sunder Irrevocable Trust (the “Sunder Trust”). The
    10 Sunder Trust is the owner of a TransSurvivor 115 universal life insurance policy
    11 (Policy No. 60063911) insuring the life of Klaus Sunder. The policy was issued to
    12 the Sunder Trust on or about October 1, 2000, with a face amount of $2,000,000.
    13                Plaintiff Belinda Bucci (“Bucci”) is a citizen of the State of
    14 Pennsylvania. Bucci is the Trustee of the Charles and Nancy Barcelona Irrevocable
    15 Trust dated May 12, 1998 (the “Barcelona Trust”). The Barcelona Trust holds in
    16 trust a TransSurvivor 115 universal life insurance policy (Policy No. 60027315)
    17 jointly insuring the lives of Charles Barcelona, currently 89 years old, and his wife,
    18 Nancy Barcelona, currently 88 years old, with the Barcelona Trust as the owner and
    19 Charles and Nancy Barcelona’s three children as the primary beneficiaries. The
    20 policy was issued on or about June 21, 1998, with a face amount of $2,000,000.
    21               Plaintiff Debra Lewis is a citizen of the State of Pennsylvania and the
    22 owner of a TransSurvivor 115 universal life insurance policy (Policy No.
    23 60027700) issued on or about June 3, 1998, with a face amount of $375,000, jointly
    24 insuring the lives of her parents Griffin Lewis, who passed away in October 2018,
    25 and his wife Fabronia Lewis, currently approximately 90 years old.
    26               Plaintiff Diana Lewis is a citizen of the State of New York and the
    27 owner a TransSurvivor 115 universal life insurance policy (Policy No. 60026807)
    28
                                                  4
                                   CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 6 of 49 Page ID #:1034




     1 issued on or about June 3, 1998, with a face amount of $375,000, jointly insuring
     2 the lives of her parents Griffin Lewis, who passed away in October 2018, and his
     3 wife Fabronia Lewis, currently approximately 90 years old.
     4               Plaintiff Michael H. Stephens (“Stephens”) is a citizen of the State of
     5 Texas and the owner of a TransUltra 115 universal life insurance policy (Policy No.
     6 60037601) issued on or about November 25, 1998, with a face amount of $500,000.
     7               Plaintiff Sandra Rosner (“Rosner”) is a citizen of the State of New
     8 York. Rosner is the Trustee of the Rosner 1998 Irrevocable Trust dated 5/19/98 (the
     9 “Rosner Trust”). The Rosner Trust holds a 50% interest in TransUltra 115 universal
    10 life insurance policy (Policy No. 60026965) insuring the life of Elena Rosner,
    11 currently 93 years old. The policy was issued to the Rosner Trust on or about
    12 January 16, 1999, with a face amount of $500,000.
    13               Plaintiff Kathleen M. Swift is a citizen of the State of Colorado and the
    14 owner of a TransUltra 115 universal life insurance policy (Policy No. 60041474)
    15 issued on or about April 21, 1999, insuring herself in the face amount of $250,000.
    16               Plaintiff Marc Soble (“Soble”) is a citizen of the State of Michigan.
    17 Soble is a Trustee of the Marilyn B. Soble Irrevocable Trust dated 11/19/1997 (the
    18 “Soble Trust”). The Soble Trust is the owner of TransSurvivor 97 universal life
    19 insurance policy (Policy No. 60021270) insuring the lives of Jerome S. Soble and
    20 Marilyn B. Soble. The policy was issued to the Soble Trust on or about December
    21 23, 1997, with a face amount of $2,200,000.
    22               Defendant Transamerica is a corporation organized under Iowa law,
    23 with its principal place of business located at 4333 Edgewood Road NE, Cedar
    24 Rapids, Iowa, 52499. Transamerica is a citizen of the State of Iowa.
    25               In the 1990s, Transamerica Occidental was a corporation organized
    26 under California law, with its Home Office and principal place of business at 1150
    27 S. Olive Street, Los Angeles, California, 90015.
    28
                                                  5
                                  CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 7 of 49 Page ID #:1035




     1               On or about October 1, 2008, Transamerica Occidental was merged
     2 into Transamerica, making Transamerica its successor-in-interest. Transamerica
     3 Occidental and Transamerica are collectively referred to as “Transamerica.”
     4                           JURISDICTION AND VENUE
     5               This Court has jurisdiction over the Plaintiffs in this action, who have
     6 voluntarily filed in this forum.
     7               Jurisdiction over Transamerica is proper because Transamerica has
     8 registered with the California Secretary of State, purposely availed itself of the
     9 privilege of conducting business in California, and because it currently maintains
    10 systematic and continuous business contacts with this State. Transamerica regularly
    11 transacts business in California, and thousands of the putative Class Members are
    12 California residents.
    13               The Court has general and extraordinary jurisdiction over
    14 Transamerica. Transamerica’s operations in California are so substantial as to
    15 render Transamerica “at home” there, as well as in Iowa where Transamerica
    16 currently has its principal place of business. After 90 years as the quintessential
    17 California company, Transamerica only recently, in December 2016, announced the
    18 closure of its operating offices in Los Angeles and Folsom, California. Even so,
    19 Transamerica continues to own substantial real estate in California, including the
    20 iconic Transamerica Pyramid in San Francisco. Transamerica furthermore
    21 continues to service tens of thousands life insurance contracts in California with
    22 premiums totaling over $400 million, far more than in any other state in the union.
    23 Transamerica thus does more business in California than it does anywhere else in
    24 the country, including Iowa.
    25               In addition, the Court has specific jurisdiction over Transamerica
    26 because Transamerica purposefully directed its activities at California and
    27 purposefully availed itself of the privilege of doing business in the state, and the
    28
                                                 6
                                  CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 8 of 49 Page ID #:1036




     1 injuries alleged herein arise out of certain activities of Transamerica within
     2 California. The Transamerica Policies were designed, originally priced and
     3 executed by Transamerica at its then-home office in Los Angeles, California. The
     4 contract provisions at issue in this action were drafted by Transamerica in
     5 California. All of the crucial original pricing assumptions for the Policies were
     6 determined there. Transamerica thus conducted key aspects of the Policy formation
     7 in California, and furthermore in part planned the challenged MDR Increases in
     8 California, including specifically modeling and data analysis for the increases.
     9 Members of Transamerica’s MDR increase project team are based in California,
    10 and the notices of the MDR increases were developed there. Finally, the
    11 Transamerica employee responsible for administratively implementing the MDR
    12 increases resides in California.
    13               This Court has subject matter jurisdiction based on diversity of
    14 citizenship under 28 U.S.C. § 1332. Plaintiffs and Transamerica are diverse citizens.
    15 Plaintiffs furthermore allege claims on behalf of a national class of Policyholders
    16 who are minimally diverse from Transamerica, and the aggregate of these claims
    17 exceed $5,000,000. This Court accordingly has subject matter jurisdiction over this
    18 case under the Class Action Fairness Act, 28 U.S.C. § 1332(d)(2). Supplemental
    19 jurisdiction over Plaintiffs’ state law claims is proper under 28 U.S.C. § 1367.
    20               Venue is proper in this District under 28 U.S.C. § 1391 because
    21 Transamerica maintains substantial operations in this District; thousands of Class
    22 Members either reside or did business with Transamerica in this District;
    23 Transamerica engaged in business in this District; a substantial part of the events or
    24 omissions giving rise to the claims at issue occurred in this District; and because
    25 Transamerica entered into transactions and received substantial profits from
    26 Policyholders who reside in this District.
    27
    28
                                                  7
                                   CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 9 of 49 Page ID #:1037




     1                            FACTUAL ALLEGATIONS
     2               Background on Universal Life Policies and No-Lapse
                     Guarantees.
     3
     4               Unlike whole life insurance policies that require fixed monthly
     5 premium payments, the premiums required for universal life policies are flexible
     6 and need only be sufficient to cover the Monthly Deductions (also known as cost of
     7 insurance charges) and certain other specified expenses. Premium payments are
     8 deposited in an accumulation account from which Monthly Deductions and expense
     9 charges are deducted. The accumulation account is credited with monthly interest
    10 at a non-guaranteed declared rate, but not less than the guaranteed interest rate
    11 specified in the policy contract. Universal life insurance policies allow
    12 Policyholders to modify the amount and frequency of premium payments as long
                                                                                   1
    13 as their policy contains sufficient cash value to cover monthly deductions.
    14               Thus, universal life policies will normally lapse if the accumulation
    15 account value dwindles to the point that it is insufficient to cover the Monthly
    16 Deduction charges for the cost of insurance and expenses. In the 1990s, however,
    17 Transamerica and other life insurance companies developed and began selling
    18 universal life policies that included an endorsement (rider) providing a “no-lapse”
    19 feature, also known as a “secondary guarantee,” promising that the policy will
    20 remain in effect for a guaranteed period if a specified periodic premium is paid on
    21 time, even when the accumulation account is insufficient to pay the required
    22 Monthly Deductions.
    23               In the years after universal life policies with no-lapse guarantees were
    24 introduced, companies like Transamerica incorporated increasingly aggressive
    25
         1
    26  Universal Life Insurance, TRANSAMERICA,
       https://www.transamerica.com/individual/products/insurance/universal-life/ (last
    27
       visited on May 8, 2019).
    28
                                             8
                                  CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 10 of 49 Page ID #:1038




      1 pricing to illustrate lower premiums to prospective Policyholders. Consequently,
      2 no-lapse universal life policies became one of the largest selling insurance products
      3 in the market, with increasing sales spurred by the burst of the 1990s stock bubble
      4 and the steady decline in interest rates making the promised guarantees more
      5 attractive to consumers. The allure of no-lapse universal life was increased by the
      6 fact that the aggressively-priced illustrated premiums for these products were often
      7 less than one-half the premiums associated with traditional guaranteed products like
      8 whole life insurance.
      9               However, no-lapse universal life policies carry many risks for
    10 Policyholders, including the dire consequences of a single late premium payment
    11 and the insurance company’s financial inability to honor its guarantees. A clear
    12 conflict of interest exists between the insurance company and the Policyholders,
    13 creating an incentive for the company to increase cost of insurance charges on the
    14 policy with the relatively low cash values reducing any buffer against policy lapse.
    15 A single missed or late premium payment may result in termination of the policy,
    16 with little or no cash surrender value, and forfeiture of tens or hundreds of thousands
    17 of premium dollars paid in prior years.
    18                These risks were exacerbated by the companies’ incorporation of
    19 “shadow accounts” to minimize the reserves required to support the no-lapse
    20 guarantees, thereby allowing for even more aggressive pricing while increasing the
    21 risk of financial strain and the motivation for insurance companies to raise cost of
    22 insurance charges to shore up their capital and increase profits. If the shadow
    23 account fell to an amount less than zero, the no-lapse guarantee would not apply,
    24 and the policy would enter the grace period resulting in termination unless the
    25 policy owner paid a specified amount during the grace period.
    26                Unlike regular accumulation account values, the so-called “shadow
    27 account” values are not available to the Policyholders through a surrender or loan,
    28
                                                  9
                                   CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 11 of 49 Page ID #:1039




      1 and maintenance of the shadow account and associated no-lapse guarantee requires
      2 the timely payment of the required premium. Furthermore, the shadow account
      3 amount is not disclosed in policy illustrations, within the policy contract itself, in
      4 the annual statements provided to Policyholders, or on grace notices. Thus, a policy
      5 owner has no way of knowing the amount of the shadow account or how it is
      6 computed and receives no advance warning when the shadow account is about to
      7 fall below zero.
      8               The TransUltra 115 and TransSurvivor 115 Policies.
      9               Transamerica began selling the TransUltra 115 and TransSurvivor Life
    10 115 Policies in 1997 and withdrew them from the market in 2000 (the same year
    11 Actuarial Guideline XXX became effective). The TransUltra 115 product is a single
    12 life universal policy while the TransSurvivor 115 product is a joint life universal
    13 policy. The Policies are flexible-premium, universal life policies that permit the
    14 policy owner to determine the premium payment amounts after the expiration of an
    15 initial 5-year period during which specified minimum premium payments are
    16 required.
    17                Policyholders can adjust both the amount and frequency of their
    18 premium payments so long as the Policy accumulation value is sufficient to cover
    19 the Monthly Deduction charges due under the Policies. Under the Policies, the
    20 policyowner establishes a Planned Periodic Premium for a required premium period
    21 of five years. The Policies generally include a surrender period and mature at age
    22 115.
    23                Under the uniform provisions of the Policies, an “Accumulation
    24 Value” is established for each Policy, into which the Policyholder’s premium
    25 payments are deposited. The accumulation account earns interest at a declared
    26 interest rate not less than the guaranteed interest rate of 4% specified in the Policy.
    27               At the end of each policy month, Transamerica withdraws a Monthly
    28
                                                  10
                                    CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 12 of 49 Page ID #:1040




      1 Deduction from the Policy’s accumulation account value. The Monthly Deduction
      2 is equal to the following: (a) the application of a “Monthly Deduction Rate”
      3 (“MDR”) to the difference between the death benefit and the accumulation value at
      4 the beginning of the year; (b) the monthly deduction for any policy riders; and (c) a
      5 policy fee.
      6               Transamerica determines the MDRs for each policy year at the
      7 beginning of the year, using the insured’s age as of that policy year. The MDR is
      8 by far the most costly and important component of the Monthly Deduction charge.
      9 Consequently, the higher the MDR, the greater the amount of the premiums
    10 required to maintain a positive policy value balance and avoid a lapse of the policy.
    11 Even small changes in the MDR can produce a dramatic increase in the dollar
    12 amount of the Monthly Deduction charged by Transamerica, particularly at older
    13 attained ages.
    14                The Policies included the option for consumers to purchase a No-Lapse
    15 Endorsement. For the no-lapse protection of the No-Lapse Endorsement to apply,
    16 the policyholder must pay a specified Select Monthly Premium, for a specified
    17 Select Period extending to age 100. If the policyholder fails to timely pay the Select
    18 Policy Premium in any month, the no-lapse guarantee terminates, in which event
    19 the Policy will lapse unless there is sufficient account value and/or additional
    20 premiums are paid to cover the current Monthly Deduction charges.
    21                In addition, certain of the No-Lapse Endorsements utilize a “shadow
    22 account” to determine whether the no-lapse guarantee will remain in effect. The
    23 shadow account is calculated separately from the accumulation value. The shadow
    24 account amount is increased by the premiums paid by the Policy owner on the base
    25 policy and for any riders, plus interest calculated using a schedule of interest rates
    26 for specified policy durations. The shadow account is decreased by the amount of
    27 threshold premiums applicable to the Policy and any riders and by any partial
    28
                                                 11
                                   CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 13 of 49 Page ID #:1041




      1 surrenders.
      2               As alleged above, the shadow account amount does not appear in
      3 policy illustrations issued by Transamerica or within the policy contract itself. In
      4 addition, the shadow account amount is not reported in the annual statements
      5 provided to Policyholders or on grace notices. Thus, the Policyholders have no way
      6 of knowing the amount of the shadow account and they receive no advance warning
      7 when the shadow account is about to fall below zero. Policyholders who have
      8 purchased the No-Lapse Endorsement only learn that the shadow account has fallen
      9 to zero when they receive a grace notice from Transamerica.
    10                When the accumulation value of the base policy is insufficient to pay
    11 the required Monthly Deduction, Transamerica issues a grace notice giving the
    12 Policy owner 60 days to pay sufficient premiums to keep the policy from lapsing
    13 (i.e. premiums in an amount sufficient to pay two Monthly Deductions). Similarly,
    14 the No-Lapse Endorsement also has a grace period of 60 days, which is triggered
    15 when the shadow account falls below zero. Thus, if the Policyholder who has
    16 purchased a No-Lapse Endorsement with a shadow account wishes to keep the no-
    17 lapse guarantee in effect, he or she has 60 days to pay premiums sufficient to bring
    18 the Policy threshold shadow account, net of any policy loans, to zero or more or,
    19 under other endorsements, to pay additional premiums due under the rider. If that
    20 amount is not paid within 60 days, the No-Lapse Endorsement terminates.
    21 Furthermore, if premiums sufficient to replenish the shadow account are not paid
    22 within the 60-day grace period, the Policy owner must pay additional premiums in
    23 an amount sufficient to pay two Monthly Deductions or the Policy will lapse.
    24                The amount necessary to restore the premium threshold shadow
    25 account values to avoid termination of the No-Lapse Endorsement is typically
    26 substantially higher than the minimum premiums necessary to pay the required
    27 Monthly Deductions under the base policy.
    28
                                                 12
                                   CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 14 of 49 Page ID #:1042




      1               The Standardized Policy Provisions at Issue in this Case.

      2               The Policies are all form contracts containing uniform, standardized
      3 terms. Because prospective Policy purchasers are not permitted to negotiate
      4 different terms, the Policies are contracts of adhesion.
      5               The Policies have standardized, uniform language with respect to the
      6 policy provisions at issue in this action. Those provisions constrain Transamerica’s
      7 discretion to set or increase the Monthly Deduction Rates in several different ways.
      8               First, the Policies all contain the following contractual provisions
      9 limiting Transamerica’ ability to increase the MDRs (“the Cost Factor Provision”):
    10
                 Any change in the monthly deduction rates will be prospective and will
    11           be subject to our expectations as to future cost factors. Such cost
                 factors may include but are not limited to: mortality; expenses; interest;
    12
                 persistency; and any applicable federal, state and local taxes.
    13 (emphasis added). This contractual limitation has a well-recognized actuarial
    14 meaning, namely that any increase in the MDRs must be based on Transamerica’s
    15 actual expectations as to future “cost factors” (as opposed to revenues or profits)
    16 and that MDRs may be increased only if the expected future cost factors are less
    17 favorable than the corresponding cost assumptions made when the Policies were
    18 priced.
    19                Second, the No-Lapse Policies also contain the following additional
    20 contractual limitation on Transamerica’s ability to increase the MDRs (the “Non-
    21 Recoupment Provision”):
    22
                 We do not distribute past surplus or recover past losses by changing the
    23           monthly deduction rates.
    24 (emphasis added). This contractual limitation also has a well-recognized actuarial
    25 meaning, namely that Transamerica may not raise MDRs to increase the
    26 profitability of the Policies in future durations to a level higher than the profits
    27 projected for the Policies when they were priced and issued to the Policyholders.
    28
                                                   13
                                    CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 15 of 49 Page ID #:1043




      1               Thus, Transamerica agreed in the Policies that any changes in the
      2   MDRs would be prospective only, would be based its “expectations as to future
      3   cost factors” and would not “recover prior losses” so as to increase the profitability
      4   of the Policies in future years to a level higher than Transamerica initially projected
      5   for the persisting Policies in those same future years. Transamerica also agreed that
      6   it would credit interest to the Policies accumulation values at the guaranteed annual
      7   rate of 4.0%.
      8               The Cost Factor Provision and the Non-Recoupment Provision operate
      9 in tandem to restrict the circumstances under which Transamerica may raise the
    10 MDRs. The Cost Factor Provision specifies that Transamerica may raise MDRs
    11 based only on its true expected future experience with respect to legitimate cost
    12 factors resulting from a deviation between actual and assumed experience using
    13 actuarially sound practices. The Non-Recoupment Provision, in turn, sets an upper
    14 limit on the amount of any MDR increases by specifying that Transamerica may
    15 not increase the MDRs to avoid future projected losses or to earn future profits
    16 higher than the level projected at the time the Policies were priced and issued.
    17                Thus, under the Policies, Transamerica may not increase MDRs to
    18 recoup past losses, to avoid future losses, or to make the Policies more profitable
    19 than assumed at issuance. Furthermore, Transamerica may not increase the MDRs
    20 when there is no reasonable expectation of future adverse changes in legitimate cost
    21 factors. Nor may Transamerica increase MDRs to avoid its obligations to pay
    22 guaranteed interest or to avoid, subsidize or defray the costs associated with its own
    23 no-lapse guarantees.
    24                Accordingly, the Policies do not authorize or permit Transamerica to
    25 do any of the following:
    26          • set or increase the MDRs in whatever amount or by whatever method it
    27            determines;

    28
                                                   14
                                    CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 16 of 49 Page ID #:1044




      1        • increase MDRs to recoup past losses in violation of the Non-Recoupment
                 Provision;
      2
               • increase MDRs in order to negate or offset Transamerica’s obligation to
      3
                 pay credited interest to the Policies at the minimum guaranteed rates;
      4
               • increase MDRs for reasons other than those permitted by Cost Factor
      5          Provision;
      6
               • increase MDRs in order to negate or offset Transamerica’s obligations to
      7          provide no-lapse coverage under the No-Lapse Endorsements; and
      8
               • increase MDRs to induce policy lapses in order to evade Transamerica’s
      9          obligations to pay interest at the guaranteed rates or to provide no-lapse
                 coverage under the No-Lapse Endorsements.
    10
    11               Transamerica’s Massive MDR Increases.
    12               Beginning in August of 2017, Transamerica suddenly announced the
    13 MDR Increases, stating that it was going to unilaterally increase the Monthly
    14 Deduction charges under the Policies based on a massive MDR increases.
    15               Certain of the Policies were subjected to a level rate increase of
    16 between 47% and 58%. Others were hit with a 39% increase on the next anniversary
    17 date, followed by another 39% increase in each of the following two years,
    18 compounded each year (resulting in an overall increase for these Policies of 169%
    19 after the third contemplated increase).
    20               In the notices to Plaintiffs and the other Policyholders announcing the
    21 MDR Increases, Transamerica stated that the increases are “in addition to the
    22 customary increases that are associated with age” and that the increases are
    23 attributable to Transamerica’s “current expectations about our future costs to
    24 provide this coverage.” (Emphasis added.) As alleged below, however, the MDR
    25 Increases impermissibly operate to recoup losses in violation of the Non-
    26 Recoupment Provision, are not attributable to the Transamerica’s true expectations
    27 about future cost factors allowable under the Cost Factor Provision, and were
    28
                                                 15
                                  CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 17 of 49 Page ID #:1045




      1 adopted by Transamerica in bad faith as a pretext to avoid its own obligations under
      2 the Policies and the No-Lapse Endorsement and to cause elderly Policyholders to
      3 lapse or surrender their Policies (an inevitable consequence of the sudden MDR
      4 increases, known as “shock lapses”).
      5                The MDR Increases Breach the Applicable Policy Provisions.
      6                1.     The MDR Increases Violate the Non-Recoupment
                              Provision.
      7
                       As noted above, all of the Policies contain the Non-Recoupment
      8
          Provision explicitly prohibiting Transamerica from increasing MDRs to recover
      9
          past losses. An insurance company recovers past losses whenever it increases cost
    10
          of insurance rates (MDRs) on universal life products to produce more favorable
    11
          future profits than those assumed, based on reasonable pricing assumptions, when
    12
          the particular Polices were priced and issued. This prohibition against recovering
    13
          past losses prevents Transamerica from “changing the rules of the game” mid-
    14
          stream, to penalize persisting Policyholders through increased MDRs generating
    15
          profits at a level higher than the company expected during future periods based on
    16
          initial reasonable pricing assumptions for the persisting cohort of policies. As
    17
          alleged in the following paragraphs, the MDR Increases operate to recover past
    18
          losses in violation of the Non-Recoupment Provision.
    19
                       The market for universal life policies throughout the 1990’s was
    20
          extremely competitive as insurance companies jockeyed to capture new business.
    21
          By virtue of the flexible premium design of universal life products, sales
    22
          illustrations were the predominant tool used by insurance companies to sell
    23
          universal policies to consumers. In their quest to illustrate the most competitive (i.e.,
    24
          providing higher death benefits and policy values for a lower cost), Transamerica
    25
          and other insurance companies adopted overly aggressive pricing assumptions. An
    26
          “illustration war” sparked by “illustration shoot outs” erupted, ultimately
    27
          culminating in model regulations promulgated by the National Association of
    28
                                              16
                                     CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 18 of 49 Page ID #:1046




      1 Insurance Commissioners and adopted by states across the country to curtail the
      2 illustration abuses.
      3               Traditional universal life policies, first introduced in the high interest
      4 environment of the early 1980s, provided flexibility in premium payments while
      5 purportedly allowing Policyholders to obtain insurance for a lower cash outlay in
      6 exchange for giving up the certainty of guaranteed premiums. In response to
      7 declining interest rates, which made sales illustrations less attractive, Transamerica
      8 and other companies developed secondary guarantee products like the TransUltra
      9 115 and the TransSurvivor 115 Policies. As alleged above, the no-lapse guarantee
    10 feature provided by the No-Lapse Endorsement provides that if stated premiums are
    11 paid, subject to strict conditions, the Policy will not lapse even if the Policy
    12 accumulation account were insufficient to pay the otherwise required Monthly
    13 Deductions.
    14                Secondary guarantee no-lapse policies quickly became one of the
    15 hottest insurance products in the market, providing agents with the ability to sell
    16 insurance providing coverage for ostensibly guaranteed rates that were still lower
    17 than whole life products while providing companies with the opportunity for
    18 increased sales and short-term profits. As no-lapse products proliferated,
    19 Transamerica and other companies rushed to provide policies with increasingly
    20 lower premiums to garner sales in a highly competitive price-driven market.
    21                To gain a competitive advantage, while at the same time reaping short-
    22 term profits, Transamerica designed the TransUltra 115 and TransSurvivor 115
    23 Policies, and the No-Lapse Endorsement, to generate high profits in early policy
    24 durations, followed by losses in later durations. Transamerica achieved these early
    25 profits, in part, by using “reverse select ultimate” MDRs that allowed the company
    26 to reap high mortality profits in early durations, thereby front-loading those profits,
    27 followed by mortality charges in later durations that were insufficient to cover the
    28
                                                  17
                                    CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 19 of 49 Page ID #:1047




      1 cost of anticipated death claims. As a stock company, Transamerica was able to
      2 boost its reported short-term profits due to the difference between GAAP
      3 accounting and statutory reserve accounting (allowing the company to show early
      4 profits on the difference between Monthly Deductions and death benefits paid plus
      5 any profit on expenses charged to Policyholders less those paid or assessed).
      6 Transamerica thus delayed its long-term obligations and projected late-duration
      7 losses to far distant reporting periods and discounted those liabilities and future
      8 losses using favorable assumptions.
      9               Transamerica also used lapse-supported pricing in the design of the
    10 Policies. Rather than traditional conservatively priced policies, where profitability
    11 improves if lapses are less than assumed, the lapse-supported Policies become less
    12 profitable when fewer Policies lapse. Transamerica knew when it designed the
    13 products that the Policies would be unprofitable if all or a substantial percentage of
    14 purchasers persisted until death benefits were paid on their contracts. Thus, for the
    15 cohort of Policies owned by Plaintiff and the other putative class members, which
    16 have persisted for the last two decades, the current in-force Policies were priced to
    17 have losses in the late durations, with such losses having minimal impact on pricing
    18 metrics since they were far in the future and substantially discounted to the time of
    19 pricing. Transamerica’s attempt to saddle these Policies with higher MDRs under
    20 the MDR Increases, in order to avoid the projected future losses, impermissibly
    21 seeks to recoup past losses in violation of the Non-Recoupment Provision.
    22                In addition, because the Policies were marketed based on the no-lapse
    23 secondary guarantees, they were priced to have relatively low accumulation and
    24 cash surrender values and relatively high early duration policy charges.
    25 Furthermore, for competitive reasons, Transamerica could price the Policies based
    26 on very low interest rate spreads. The interest rate spread is the difference between
    27 the rate earned by Transamerica on the assets (primarily bonds) purchased with
    28
                                                 18
                                   CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 20 of 49 Page ID #:1048




      1 policy premiums and the non-guaranteed interest rate credited to the Policies, net
      2 of certain charges. The interest spread thus represents Transamerica’s projected
      3 interest earnings on the Policies. Transamerica’s decision to assume low
      4 accumulation values, modest interest spreads, and high early costs, contributed to
      5 the priced for profit pattern of front-loaded profits followed by late duration losses.
      6               Furthermore, Transamerica designed certain of the No-Lapse
      7 Endorsements for the Policies using “shadow accounts” which allowed
      8 Transamerica to avoid booking reserves as liabilities that would reduce its bottom
      9 line profits. Transamerica thus delayed its long-term obligations to far distant
    10 reporting periods and discounted those liabilities and future losses using favorable
    11 assumptions.
    12                The Policies thus were designed to allow Transamerica to realize high
    13 mortality profits in the early years, immediately after the Policies were priced and
    14 issued. But as the Policies progressed to the later durations, Transamerica faced
    15 constrained future profits and looming future losses resulting from its policy design
    16 choices.
    17                When that day of reckoning arrived, Transamerica reacted by saddling
    18 the Policyholders with the MDR Increases, imposed to recoup losses in
    19 contravention of the Non-Recoupment Provision. The MDR Increases were
    20 imposed to mitigate or avoid those losses, making the Policies more profitable in
    21 future years than the profit levels based on original pricing assumptions using
    22 Transamerica’s own mortality assumptions.
    23                The sudden, massive MDR Increases – some of which are as high as
    24 169% – can only be explained as an attempt to recoup losses. Insurance company
    25 actuaries are required to closely monitor and report on trends affecting non-
    26 guaranteed elements of its insurance policies. Material deviations between current
    27 and expected future expected profitability do not occur overnight; they are gradual
    28
                                                   19
                                    CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 21 of 49 Page ID #:1049




      1 trends for which actuaries can and do make incremental adjustments.
      2               In its Statements of Nonguaranteed Elements, filed with insurance
      3 regulators each year, Transamerica consistently represented that mortality charges
      4 (MDRs) on its universal life products are closely monitored and determined
      5 periodically based on the company’s experience, that expense charges are adjusted
      6 when anticipated future experience deviates from original pricing assumptions, and
      7 that credited interest rates are reviewed on a monthly basis. Yet during the period
      8 from December 31, 2010 through December 31, 2016, Transamerica expressed no
      9 indication of any need to increase the Monthly Deduction Rates from those
    10 illustrated to Policyholders of secondary guarantee universal life policies due to any
    11 adverse change in mortality rates or any other anticipated experience factors. Not
    12 until publishing its 2017 NGE Statement did Transamerica announce that changes
    13 to anticipated experience may result in increases to the Monthly Deduction Rates
    14 in 2018. As a consequence, it is inconceivable that the MDR Increases (as high as
    15 169%) are attributable to changes in current or anticipated experience factors
    16 relating to the cost of providing insurance that emerged only recently.
    17                2.    The MDR Increases Violate the Cost Factor Provision.
    18                The massive MDR Increases are not truly based on adverse changes in
    19 Transamerica’s “current expectations about the future costs to provide this
    20 coverage” allowable under the Cost Factor Provision, as Transamerica represented
    21 in its notice letter to the Policyholders. Under the Cost Factor Provision,
    22 Transamerica may increase MDRs based only on “future cost factors,” including
    23 mortality; expenses; interest; persistency; and any applicable federal, state and local
    24 taxes.
    25                Importantly, the Cost Factor Provision permits Transamerica to
    26 increase MDRs only where expected future cost factors associated with the cohort
    27 of in-force Policies are less favorable than Transamerica assumed for those same
    28
                                                  20
                                   CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 22 of 49 Page ID #:1050




      1 cost factors when the Policies were priced and issued. The Cost Factor Provision
      2 does not, for example, permit Transamerica to increase MDRs because the amount
      3 of premiums paid (i.e. funding levels) are less than projected at pricing since
      4 premiums are a revenue rather than a cost of providing. Similarly, Transamerica
      5 may not increase MDRs because the interest spreads are lower than assumed at
      6 pricing since interest spreads represent a source of profit rather than a cost of
      7 providing coverage. In addition, the Cost Factor Provision only permits
      8 Transamerica to increase MDRs where the expected future costs applicable to the
      9 particular Policies in-force at the time of the increase are less favorable than the
    10 corresponding cost factors assumed at pricing. Transamerica admitted as much in
    11 its notice to in-force Policyholders about the MDR Increases, where it said the
    12 increases were “based on our current expectations about the future costs to provide
    13 this coverage” (i.e. the cost to provide coverage under the recipient’s in-force
    14 Policy).
    15                As alleged in the following paragraphs, Transamerica has not
    16 experienced any substantial deterioration in the cost factors applicable to the
    17 Policies that would support a sudden rate hike of the magnitude imposed by the
    18 MDR Increases.
    19                First, MDR Increases are not justified by adverse mortality.
    20 Nationwide, mortality has continuously improved since the Policies were issued.
    21 Beginning at least as early as 1941, the NAIC has issued a series of Commissioners
    22 Standard Ordinary (“CSO”) mortality tables. These are industry-standard mortality
    23 tables that were commonly used by insurers at the time the policies were priced to
    24 calculate reserves and to set maximum permitted cost of insurance rates in universal
    25 life policies. In 2001, at the request of the NAIC, the Society of Actuaries (“SOA”)
    26 and the American Academy of Actuaries (“Academy”) produced a proposal for a
    27 new CSO mortality Table. The accompanying report from June 2001 explained that
    28
                                                 21
                                   CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 23 of 49 Page ID #:1051




      1 (a) the 1980 CSO Mortality Table was still the industry-standard table and (b)
      2 mortality rates had improved significantly each year since the 1980 table issued.
      3 The SOA published an update of the CSO tables in 2017.2 An investigative report
      4 on the update of the CSO tables by the SOA was published in June 2015 and showed
      5 further significant reductions in insurance company reserves compared to 2001
      6 CSO due to continuous mortality improvements since 2001.3
      7              Consistent with national results, Transamerica’s projected mortality
      8 margin for the Policies based on its current experience at the time of the MDR
      9 Increases was more favorable than assumed at pricing.
    10               Furthermore, the reference to “mortality” in the Cost Factor Provision
    11 means the rate of death (as opposed to amount of death claims or any similar
    12 metric) based on Transamerica’s own past, emerging, and projected experience
    13 relating to the Policies within the same class. It does not include reinsurance,
    14 which is a transfer of risk that the insurer voluntarily undertakes with an
    15 undisclosed third-party; such outsourcing of risk is not a cost of directly
    16 administering the policy and reinsurance premiums are not guaranteed.
    17               To whatever extent Transamerica claims that any of its third-party
    18 reinsurance companies demanded premium increases, or that Transamerica
    19 recaptured certain liabilities associated with the Policies to avoid increased
    20 reinsurance premiums, any such increases would be a direct result of
    21 Transamerica’s own past failure to adhere to the underwriting standards used to
    22 price the reinsurance treaties rather than any future change in Transamerica’s
    23 expected mortality experience.
    24
    25    2
         https://www.soa.org/experience-studies/2015/2017-cso-tables/ (last accessed May
    26 8, 2019).
       3
            https://www.soa.org/research-reports/2015/research-cso-impact-study/ (last
    27
       accessed May 8, 2019).
    28
                                               22
                                  CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 24 of 49 Page ID #:1052




      1               Second, changes in Transamerica’s projected future expenses could
      2 not conceivably justify the massive MDR Increases. Such expenses have at most
      3 only a minor impact on the expected future profitability of the Policies. Because the
      4 Policies were discontinued eighteen years ago in 2000, Transamerica is incurring
      5 no further sales or acquisition costs (such as agent commissions) in connection with
      6 Policies. The administrative expenses associated with the Policies are stable and
      7 predictable. In January 2018, Transamerica announced that it entered an agreement
      8 with Tata Consultancy Services (“TCS”). According to the press release issued by
      9 Transamerica, “TCS will administer Transamerica’s life insurance [business] . . .
    10 and take on administration of over 10 million policies.”4 The TCS agreement is
    11 expected to result in annual administrative expense savings to Transamerica of
    12 approximately $70 million initially, growing to annual savings of $100 million over
    13 time. Id. If anything, Transamerica’s projected future expenses associated with the
    14 No-Lapse Policies is more, not less favorable, than in the past.
    15                Nor can the MDR Increases be justified by any projected increase in
    16 state or federal tax expense in light of the Tax Reform Act of 2017. Rather than
    17 increased expenses, Transamerica will realize lower projected federal taxes as a
    18 result of reduce rates and other benefits to insurance companies. Aegon N.V., a
    19 Netherlands corporation, acquired Transamerica in 1999. According to Aegon’s
    20 reported financial results for the fourth quarter of 2017, its shareholders’ equity
    21 “increased by EUR 1.0 billion . . . resulting from US tax reform, due to a reduction
    22 in net deferred tax liabilities, of which EUR 554 million was recognized in the profit
    23
    24
    25    4
        https://www.prnewswire.com/news-releases/transamerica-partners-with-tata-
    26 consultancy-services-to-transform-its-insurance-and-annuities-administration-
       300581697.html (last accessed May 8, 2019).
    27
    28
                                                 23
                                   CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 25 of 49 Page ID #:1053




      1 and loss account.”5
      2                Third, the MDR Increases also cannot be justified by changes in
      3 Transamerica’s interest experience. The No-Lapse Policies were priced and issued
      4 during 1997–2000, the same time when Transamerica priced and issued other
      5 TransUltra and TransSurvivor policies that did not include no-lapse guarantees.
      6 Transamerica used comparable interest assumptions in pricing these contemporary
      7 policies because all of them were part of the same product line priced during the
      8 same interest rate environment, supported by the same classes of assets with
      9 comparable durations.
    10                The other TransUltra and TransSurvivor policies priced during the
    11 same time as the Policies were subjected to MDR increases in 2016. Transamerica
    12 purportedly focused only on purported “interest spread” deficiencies for those
    13 policies. The increases for the other TransUltra and TransSurvivor policies ranged
    14 between 5% and 17% – far lower than the MDR Increases as high as 169% that
    15 Transamerica imposed on the Policies. The massive MDR Increases cannot be
    16 justified, therefore, based on changes in Transamerica’s future expected interest
    17 costs.
    18                Moreover, as alleged above, Transamerica designed the Policies with
    19 very low interest spreads and low projected account values in the first place.
    20 Consequently, the massive MDR Increases cannot be explained or justified by the
    21 “interest” factor enumerated in the Cost Factor Provision, nor can it be justified by
    22 any purported deviation between projected and actual funding levels. Even if
    23 Transamerica’s current expectation is that the company will experience spread
    24 compression or even negative interest spreads with respect to the No-Lapse
    25 Policies, that would not and could not justify an MDR increase of between 39% and
    26
          5
           https://www.businesswire.com/news/home/20180214006525/en/Aegon-
    27
          concludes-2017-solid-fourth-quarter-results (last accessed May 8, 2019).
    28
                                                 24
                                   CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 26 of 49 Page ID #:1054




      1 169%.
      2               Furthermore, although the Policies have a guaranteed interest rate of
      3 4%, Transamerica currently earns approximately 5% on the portfolio of assets
      4 supporting the Policies. Interest rates are projected to increase in future years. Thus,
      5 notwithstanding the current low interest rate environment, Transamerica is still
      6 earning a positive interest spread on the Policies and, as such, its 4% guaranteed
      7 interest obligation cannot properly be viewed as a “cost”; rather, to the extent future
      8 expected interest spreads may be lower than projected when the Policies were
      9 priced and issued, at most Transamerica is earning lower interest profits.
    10                The Cost Factor Provision allows MDRs to be increased only based on
    11 future costs. Lower profits are not a true cost, and none of the enumerated “cost
    12 factors” includes the desire for increased profits as a permissible basis for MDR
    13 increases. And, in any event, the 4% interest rate that Transamerica was crediting
    14 to the Policies at the time of the MDR Increases was lower than the interest crediting
    15 rates that Transamerica assumed at pricing, making any purported “cost” associated
    16 with interest credits lower than the corresponding pricing assumption.6
    17                Transamerica’s expectations of future investment returns could not
    18 reasonably be materially lower than what Transamerica originally expected, as
    19 adjusted from time to time – and any change in investment returns would be far too
    20 small to justify an MDR increase of the massive size imposed by the MDR
    21 Increases, especially when combined with the dramatic improvements in mortality
    22 that have occurred since the Policies were priced.
    23                Finally, the MDR Increases are not justified based on Transamerica’s
    24
          6
         Transamerica does have discretion under the Policy contract to reduce credited
    25
       interest rates (so long as they are not reduced below the guaranteed 4% rate) to help
    26 attain the profits assumed at pricing. But as long as its portfolio rate is higher than
       the credited interest rate, thereby generating a positive interest spread and
    27
       associated interest profits, the credited rate cannot properly be considered a “cost.”
    28
                                                  25
                                    CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 27 of 49 Page ID #:1055




      1 expectation that persistency of the Policies is higher than assumed when the Policies
      2 were priced. The only “cost” associated with persistency is incurred when Policies
      3 are surrendered, requiring Transamerica to pay terminating Policyholders the cash
      4 surrender value of the surrendered Policy. Where persistency is higher than
      5 Transamerica assumed at pricing, thereby resulting in fewer surrenders, the costs
      6 attributable to cash surrender payments are lower, not higher, than projected when
      7 the Policies were priced. Accordingly, to the extent Transamerica expected future
      8 persistency to be higher than it assumed when the Policies were designed and
      9 issued, that “cost factor” would suggest a lower MDR, and certainly would not
    10 support or justify an MDR increase.
    11                As alleged above, the base Policies were designed as lapse-supported
    12 products that would generate high profits in early durations followed by losses in
    13 later durations, thereby allowing Transamerica to extract high short-term profits.
    14 However, Transamerica should have used a relatively low lapse rate in its pricing
    15 assumptions to account for the secondary guarantees contained in the No-Lapse
    16 Endorsements. Consequently, even if the Policies experienced a lower lapse rate
    17 than Transamerica assumed at pricing and those lower lapses were encompassed by
    18 the “persistency” cost factor, the discrepancy would not explain or justify the
    19 draconian MDR Increases.
    20                In short, any future underperformance of the Policies is attributable to
    21 Transamerica’s own conduct, including erroneous internal modeling, rather than
    22 any change in underlying experience relating to the cost factors that would permit
    23 an increase under the Cost Factor Provision. Transamerica made numerous errors
    24 relating to the profit models relating to its universal life products. In an analyst
    25 conference call on January 13, 2016, Transamerica admitted that it was required to
    26 book hundreds of millions in charges to earnings because “the combination of
    27 sustained low interest rates and more sophisticated policyholder behavior was not
    28
                                                  26
                                   CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 28 of 49 Page ID #:1056




      1 adequately captured by our models.”7
      2               Similarly, Transamerica in many instances failed to enforce or adhere
      3 to its underwriting standards; failed to conduct adequate investigation or evaluation
      4 of cases submitted by producers, including obtaining third party confirmation of net
      5 worth and health-related representations by the insureds; allowed or promoted table
      6 shaving (a program offering improved ratings for prospects with substandard table
      7 ratings due to health issues); and made business-decisions to underwrite to a lower
      8 rating than provided by their underwriting manuals as an incentive to receive more
      9 cases from preferred agents or in an effort to match or best competing product
    10 offers.
    11                The cost of insurance factors enumerated in the Cost Factor Provision,
    12 separately or in combination, do not explain or justify the MDR Increases. Nor is
    13 there any other legitimate cost factor, in addition to those enumerated in the Cost
    14 Factor Provision itself, that can plausibly explain or justify the MDR Increases.
    15                In sum, based on and in addition to the foregoing allegations,
    16 Transamerica breached the Policies by systematically calculating and imposing the
    17 challenged MDR Increases which among other things: (1) are based on assumptions
    18 that are not “cost factors” within the meaning of the standardized policy language;
    19 (2) attempt to recover past losses in contravention of the uniformly applicable
    20 Policy provisions; (3) treat Policies in a non-uniform fashion; (4) use aggregate or
    21 inapplicable data to saddle persisting Policies with excessive MDR Increases; (5)
    22 include “converted” Policies in the MDR calculations; (6) use unreasonable
    23 assumptions relating to Policies with secondary guarantees and second-to-die
    24 provisions and with respect to the reserves associated with those Policies; (7)
    25
          7
    26  http://docplayer.net/48358805-Event-id-event-name-aegon-nv-a-i-conference-
       event-date-january-13-2016-3-45-am-est.html (quoting Aegon NV’s CFO at page
    27
       17 of transcript of meeting) (last accessed May 8, 2019).
    28
                                                 27
                                   CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 29 of 49 Page ID #:1057




      1 impute increased interest spreads to achieve target spreads higher than those used
      2 to price the Policies; (8) fail to account properly for third-party reinsurance
      3 premiums or for the positive financial impact of captive reinsurance; (9) overstate
      4 the reserves assumed in modeling the MDR Increases; (10) manipulate the
      5 assumptions and other model inputs used to determine the MDR Increases
      6 (including the inputs used to calculate the present value of profits based on both
      7 the “original pricing” assumptions and Transamerica’s assumed “current”
      8 expectations); (11) use inaccurate, incomplete and unreasonable purported “original
      9 pricing” assumptions; and (12) use different modeling platforms (such as TAS,
    10 MoSes, and AXIS) producing inconsistent profits for the same inputs.
    11                The MDR Increases Were Adopted in Bad Faith.
    12                Through the sudden and massive MDR Increases, Transamerica is
    13 attempting to avoid its obligation to credit the guaranteed interest rates under the
    14 Policies and its obligations under the no-lapse endorsements – thereby denying
    15 Policyholders their contractual benefits under the Policies. Transamerica has
    16 imposed the MDR Increases to offset or subsidize its credited interest and no-lapse
    17 guarantees.
    18             As alleged above, Transamerica has saddled Plaintiffs and other Class
    19 Members with the onerous MDR Increases not because of any adverse mortality
    20 experience or other legitimate cost of insurance factors but, instead, to defray its
    21 contractual obligations to pay guaranteed interest under the Policies, to avoid its
    22 contractual obligations under the No-Lapse Endorsements (thereby recouping
    23 losses stemming from Transamerica’s own actions), and to increase profits going
    24 forward from those originally anticipated when the products were priced.
    25                Transamerica knows, and fully expects, that the massive MDR
    26 Increases will cause thousands of Class Members to surrender their Policies and
    27 cause thousands of other Policies to lapse as the increased Monthly Deduction
    28
                                                28
                                   CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 30 of 49 Page ID #:1058




      1 charges exhaust the funds in the Policies’ accumulation accounts. Indeed,
      2 Transamerica has acted intentionally to provoke Policy surrenders in an effort to
      3 wipe from its books life insurance policies insuring vulnerable elderly
      4 Policyholders that Transamerica has by its own conduct rendered unprofitable.
      5               The likelihood of a surrender or lapse increases dramatically when
      6 there is an increase in MDRs, and the Policyholder must decide whether he or she
      7 can afford to maintain the Policy, especially when the information supplied to the
      8 Policyholder is deliberately designed to provoke surrender or lapse.
      9               Transamerica has actively sought to encourage and provoke Plaintiffs
    10 and Class Members to terminate their Policies or reduce the face amount of
    11 coverage enough to allow Transamerica to collect the increased monthly deduction
    12 charges. In its form letters announcing the MD Increase, Transamerica suggested
    13 that Policyholders “may choose to surrender your policy for the cash value . . . You
    14 can take this in cash or you may be able to exchange it for another life insurance
    15 policy that accumulates cash value.” Transamerica also suggested an alternative
    16 “Reduced Face Amount Option,” which would drastically reduce the insurance
    17 coverage while still allowing Transamerica to pocket the increased Monthly
    18 Deductions as long as the Policy remained in force. Id.
    19                Transamerica also has created obstacles that preclude Policyholders
    20 from obtaining the information they need to evaluate their options. For instance,
    21 Transamerica systematically directs Policyholders to speak with its “customer
    22 service” representatives or its “Product Specialist Team” to obtain information and
    23 answers to questions about the MDR Increases. However, this call center is staffed
    24 by representatives who lack sufficient training or information to provide meaningful
    25 guidance to Policyholders. Policyholders are often given confusing or conflicting
    26 answers to their questions or presented with alarming doomsday scenarios intended
    27 to encourage surrenders or lapses.
    28
                                                29
                                   CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 31 of 49 Page ID #:1059




      1               In addition, Transamerica is now refusing to provide Policyholders
      2 with illustrations showing how their Policies will perform as a result of the MDR
      3 Increases. Instead, Transamerica will now only provide policy illustrations
      4 depicting how the Policies would perform if the MDRs were raised to a level even
      5 higher than the rates imposed by the MDR Increases. These illustrations depict the
      6 most pessimistic scenario possible, showing that the Policies will terminate far
      7 sooner than they will as a result of the MDR Increases. By doing so, Transamerica
      8 hopes to induce elderly Policyholders to surrender their Policies.
      9               Transamerica’s attempt to deprive Plaintiff and Class Members of the
    10 primary benefit of their Policies – paid for through years of contributions to the
    11 accumulation account – violates Transamerica’s express and implied obligations
    12 under the Policies, constitutes “unfair” conduct under the UCL, and statutory elder
    13 abuse in the case of Plaintiff Thompson and other California Policyholders aged 65
    14 years or older.
    15                Transamerica’s Unconscionable Conduct Must Be Enjoined.
    16                The Class Members hardest hit by Transamerica’s unconscionable
    17 business practices are elderly Policyholders who have dutifully paid premiums for
    18 nearly 20 years based on the expectation that in their twilight years the Policies
    19 would provide protection for their families. Due to age-related underwriting
    20 considerations, life insurance protection for these elderly Policyholders is now
    21 either unavailable or prohibitively expensive.
    22                The majority of Transamerica Policyholders affected by this increased
    23 MDRs are elderly; many are now in their mid-to-late 80s, at an age at which most
    24 insurers will not offer new insurance policies. These Policyholders have faithfully
    25 paid the scheduled premiums for years. Due to their advanced age, these individuals
    26 cannot obtain alternative life insurance coverage and will lose the cash value of the
    27 Policy if they cannot pay the increased costs to maintain the Policy.
    28
                                                30
                                   CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 32 of 49 Page ID #:1060




      1               Transamerica for many years and as recently as late 2015, supplied
      2 Policyholders with illustrations and other information using existing MDRs that
      3 provided no hint of any impending change in those rates. Current Policyholders thus
      4 had no way of knowing or expecting that this dramatic increase in the MDRs would
      5 happen after almost twenty years of stable premiums.
      6               These elderly Policyholders, who are effectively uninsurable due to
      7 their advanced ages, face the prospect of: (1) surrendering their Policies and losing
      8 their death benefits at an age when purchasing other life insurance coverage is
      9 practically impossible; (2) permitting Transamerica to deplete their Policy values
    10 through its “cost of insurance” increases until there is nothing left and the Policy
    11 “shock lapses”; (3) paying vastly increased premiums with no assurance the cost of
    12 insurance will not continue to increase; or (4) accepting cuts in death benefits.
    13                As a result of Transamerica’s actions, thousands of Class Members are
    14 faced with the difficult decision of either paying the exorbitant and unjustified new
    15 charges or forever forgoing the life insurance benefits for which they have dutifully
    16 paid premiums for many years.
    17                Plaintiffs therefore seek immediate preliminary injunctive and
    18 equitable relief to preserve the status quo pendente lite by enjoining the MDR
    19 Increases. Unless Transamerica is enjoined, Policyholders will be irreparably
    20 damaged and Transamerica will succeed with its plan to cause mass cancellations
    21 of the Policies – leaving tens of thousands of Policyholders without coverage based
    22 on unlawful, unfair, and abusive MDR Increases. Plaintiffs also seek permanent
    23 declaratory and injunctive relief requiring Transamerica to reverse the unlawful
    24 increase in Monthly Deductions charged on the Policies. Plaintiffs also seek
    25 ancillary damages flowing directly from Transamerica’s unlawful conduct.
    26                      PLAINTIFF-SPECIFIC ALLEGATIONS
    27                On or about, July 1, 2000, Transamerica from its Los Angeles,
    28
                                                 31
                                   CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 33 of 49 Page ID #:1061




      1 California office issued to Plaintiff Thompson a TransSurvivor 115 policy insuring
      2 the life of her parents, Lois Thompson and Emory Thompson, with a face amount
      3 of $500,000. Thompson is the owner and primary beneficiary of the policy. For the
      4 past three or so years, Thompson has paid the policy premiums. Thompson’s policy
      5 remains in force with Transamerica and was subject to Transamerica’s
      6 TransSurvivor MDR Increase until the policy lapsed on or about December 4, 2018.
      7               On or about October 1, 2000, Transamerica from its Los Angeles,
      8 California office issued to the Sunder Trust a TransSurvivor 115 policy insuring the
      9 life of Klaus Sunder, with a face amount of $2,000,000. Plaintiff Hans Sunder is the
    10 Trustee of the Sunder Trust. The Sunder Trust has made all premium payments for
    11 the Sunder Policy; the policy remains in force with Transamerica and is subject to
    12 Transamerica’s TransSurvivor MDR Increase.
    13                On or about May 12, 1998, Transamerica from its Los Angeles,
    14 California office issued to the Barcelona Trust a TransSurvivor 115 policy jointly
    15 insuring the lives of Charles Barcelona and his wife Nancy, with a face amount of
    16 $2,000,000. The policy contains an Endorsement to Modify Grace Period. Plaintiff
    17 Belinda Bucci is the Trustee of the Barcelona Trust. The Barcelona Trust is the
    18 owner of the policy, and the primary beneficiaries of the policy are Charles and
    19 Nancy Barcelona’s three children. The Barcelona Trust has made all premium
    20 payments since the policy was purchased. The Barcelona Trust’s policy was subject
    21 to Transamerica’s TransUltra MDR Increase until the policy lapsed on or about July
    22 13, 2018.
    23                On or about June 3, 1998, Transamerica from its Los Angeles,
    24 California office issued to Plaintiff Debra Lewis a TransSurvivor 115 policy jointly
    25 insuring the lives of her parents Griffin and Fabronia Lewis, with a face amount of
    26 $375,000. Plaintiff Debra Lewis is the owner and primary beneficiary of the policy.
    27 Plaintiff Debra Lewis has made all premium payments for more than the past five
    28
                                                 32
                                   CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 34 of 49 Page ID #:1062




      1 years, and the policy remains in force with Transamerica and is subject to
      2 Transamerica’s TransSurvivor MDR Increase.
      3               On or about June 3, 1998, Transamerica from its Los Angeles,
      4 California office issued to Plaintiff Diana Lewis a TransSurvivor 115 policy jointly
      5 insuring the lives of her parents Griffin and Fabronia Lewis, with a face amount of
      6 $375,000. Plaintiff Diana Lewis is the owner and primary beneficiary of the policy.
      7 Plaintiff Diana Lewis has made all premium payments for more than the past five
      8 years, and the policy remains in force with Transamerica and is subject to
      9 Transamerica’s TransSurvivor MDR Increase.
    10                On or about November 25, 1998, Transamerica from its Los Angeles,
    11 California office issued to Plaintiff Michael H. Stephens a TransUltra 115 policy
    12 insuring his life, with a face amount of $500,000. Plaintiff Stephens is the owner of
    13 the policy, and has made all premium payments; the policy remains in force with
    14 Transamerica and is subject to Transamerica’s TransUltra MDR Increase.
    15                On or about January 16, 1999, Transamerica from its Los Angeles,
    16 California office issued to the Rosner Trust a TransUltra 115 policy insuring the
    17 life of Elena Rosner, with a face amount of $500,000. Plaintiff Sandra Rosner is the
    18 Trustee of the Rosner Trust. Since 2004, the Rosner Trust is the 50% owner of the
    19 policy, and has paid 50% of each premium payment; and the policy remains in force
    20 with Transamerica and is subject to Transamerica’s TransUltra MDR Increase.
    21                On or about, April 21, 1999, Transamerica from its Los Angeles,
    22 California office issued to Plaintiff Swift a TransUltra 115 policy insuring the life
    23 of Kathleen M. Swift, with a face amount of $250,000. Plaintiff Swift is the owner
    24 and primary beneficiary of the policy, and made all premium payments for the
    25 policy. Swift’s policy was subject to Transamerica’s TransUltra MDR Increase until
    26 the policy lapsed on or about June 23, 2018.
    27                On or about December 23, 1997, Transamerica from its Los Angeles,
    28
                                                 33
                                   CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 35 of 49 Page ID #:1063




      1 California office issued to the Soble Trust a TransSurvivor 97 policy insuring the
      2 lives of Jerome S. Soble and Marilyn B. Soble, with a face amount of $2,200,000.
      3 Plaintiff Marc Soble is a Trustee of the Soble Trust, which is the owner of the policy,
      4 and has made all premium payments; the policy remains in force with Transamerica
      5 and is subject to Transamerica’s TransSurvivor MDR Increase.
      6                         CLASS ACTION ALLEGATIONS
      7               This action is brought by Plaintiffs individually and on behalf of the
      8 National Classes and the California Subclasses described below (collectively, the
      9 “Classes”) pursuant to Rule 23, subdivisions (a), (b)(2) and (b)(3) of the Federal
    10 Rules of Civil Procedure.
    11                Definition of Classes: Plaintiffs seek certification of the following
    12 classes:
    13                • National Classes:
    14                    All persons who own or owned a Policy that was subjected
                          to the TransUltra MDR Increases.
    15
                          All persons who own or owned a Policy that was subjected
    16                    to the TranSurvivor MDR Increases.
    17                • California Subclass I:
    18                    All California residents who own or owned a Policy that was
    19                    subjected to the TransUltra MDR Increases and/or the
                          TranSurvivor MDR Increases.
    20
                      • California Subclass II: Senior Policyholders
    21
                          All California residents (a) who own or owned a Policy that
    22                    was subjected to the TransUltra MDR Increases and/or the
                          TranSurvivor MDR Increases, and (b) who were 65 years old
    23
                          or older at the time of that increase.
    24
                      Size of Classes: There are thousands of members of each of the
    25
          Subclasses described in the foregoing paragraph. Accordingly, the Class consists of
    26
          thousands of Transamerica Policyholders and is thus so numerous that joinder of all
    27
          members is impracticable. The identities and addresses of the members of these
    28
                                                34
                                    CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 36 of 49 Page ID #:1064




      1 Subclasses can be readily ascertained from business records maintained by
      2 Transamerica.
      3               Adequacy of Representation: Plaintiffs are willing and prepared to
      4 serve the Court and the proposed Classes in a representative capacity. Plaintiffs will
      5 fairly and adequately protect the interests of the Classes and have no interests that
      6 are adverse to, or which materially and irreconcilably conflict with, the interests of
      7 the other members of the Classes.
      8               The self-interests of Plaintiffs are co-extensive with and not
      9 antagonistic to those of absent Class members. Plaintiffs will undertake to represent
    10 and protect the interests of absent Class members.
    11                Plaintiffs have engaged the services of counsel indicated below who
    12 are experienced in complex class litigation and life insurance matters, will
    13 adequately prosecute this action, and will assert and protect the rights of and
    14 otherwise represent Plaintiffs and the putative Class members.
    15                The Commonality of Questions of the Law and Fact: The claims of
    16 Plaintiffs and putative Class Members involve common questions of law and fact,
    17 including:
    18              a. Whether Transamerica’s imposition of the MDR Increases are
    19                 permitted under the terms of the Policies;
    20              b. Whether Transamerica breached its contractual obligations owed to
    21                 Plaintiffs and Class Members;
    22              c. Whether Transamerica breached its implied duty of good faith and
    23                 fair dealing owed to Plaintiffs and Class Members;
    24              d. Whether Transamerica has engaged in unfair business practices in its
    25                 dealings with Plaintiffs and Class Members;
    26              e. Whether Transamerica has engaged in the financial abuse of elders
    27                 within the meaning of California’s Elder Abuse Statute;
    28
                                                  35
                                    CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 37 of 49 Page ID #:1065




      1             f. Whether Plaintiffs and Class Members have been damaged, and if so,
      2                are eligible for and entitled to compensatory and punitive damages;
      3             g. Whether Plaintiffs and Class Members are entitled to declaratory
      4                relief; and
      5             h. Whether Plaintiffs and Class Members are entitled to preliminary and
      6                permanent injunctive relief, or other equitable relief, against
      7                Transamerica.
      8               Typicality of the Claims or Defenses of the Class Representatives:
      9 Plaintiffs’ claims and defenses are typical of the claims and defenses of the putative
    10 Class Members.
    11                Rule 23(b)(2): This action is appropriate as a class action pursuant to
    12 Rule 23 (b)(2). Plaintiffs seek injunctive relief and corresponding declaratory relief
    13 for each of the Classes. Transamerica has acted in a manner generally applicable to
    14 each member of the Classes by imposing the MDR Increases on all Policies owned
    15 by Class Members.
    16                Transamerica’s unlawful MDR increases, if not enjoined, will subject
    17 Plaintiffs and Class Members to enormous continuing future harm and will cause
    18 irreparable injuries to such Policyholders, who are compelled to surrender valuable
    19 life insurance policies with no economically viable option for alternative life
    20 insurance. The adverse financial impact of Transamerica’s unlawful actions is
    21 continuing and, unless preliminarily and permanently enjoined, will continue to
    22 irreparably injure Plaintiffs and Class Members.
    23                Rule 23(b)(3): This action is also appropriate as a class action pursuant
    24 to Federal Rule of Civil Procedure 23 (b)(3).
    25                The common questions of law and fact listed above predominate over
    26 any individualized questions.
    27                A class action is superior to other available methods for the fair and
    28
                                                  36
                                     CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 38 of 49 Page ID #:1066




      1 efficient adjudication of this controversy, for the following reasons:
      2               a.    Given the age of Class Members, many of whom are
      3                     elderly and have limited resources, the complexity of the
                            issues involved in this action and the expense of litigating
      4                     the claims, few, if any, Class Members could afford to
      5                     seek legal redress individually for the wrongs that
                            Transamerica has committed against them, and absent
      6                     Class Members have no substantial interest in
      7                     individually controlling the prosecution of individual
                            actions;
      8
                      b.    Once Transamerica’s liability has been adjudicated
      9                     respecting the MDR Increases, claims of all Class
    10                      Members can be determined by the Court;
    11                c.    This action will ensure an orderly and expeditious
                            administration of the Class’s claims and foster economies
    12                      of time, effort, and expense, and ensure uniformity of
    13                      decisions and compliance by Transamerica with the
                            Policies;
    14
                      d.    Without a class action, many Class Members would
    15                      continue to suffer injury, and Transamerica’s violations
    16                      of law will continue without redress while it continues to
                            reap and retain the substantial proceeds and reductions in
    17                      its future liabilities derived from its wrongful conduct;
    18                      and
                      e.    This action does not present any undue difficulties that
    19
                            would impede its management by the Court as a class
    20                      action.
    21                A class action is superior to other available means for the fair and
    22 efficient adjudication of this controversy. The injuries suffered by individual Class
    23 Members are, though important to them, relatively small compared to the burden
    24 and expense of individual prosecution needed to address Transamerica’s conduct.
    25 Individualized litigation presents a potential for inconsistent or contradictory
    26 judgments. In contrast, a class action presents far fewer management difficulties;
    27 allows the hearing of claims that might otherwise go unaddressed; and provides the
    28
                                                  37
                                   CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 39 of 49 Page ID #:1067




      1 benefits of single adjudication, economies of scale, and comprehensive supervision
      2 by a single court.
      3                Nature of Notice to the Proposed Classes. The names and addresses
      4 of all Class Members are contained in the business records maintained by
      5 Defendant and are readily available to Defendant. The Class Members are readily
      6 and objectively identifiable. Plaintiffs contemplate that notice will be provided to
      7 Class Members by e-mail, mail, and published notice.
      8                             FIRST CAUSE OF ACTION
      9                           (Breach of Contract – All Classes)
    10                 Plaintiffs refer to the prior paragraphs of this Complaint and
    11 incorporate those paragraphs as though set forth in full in this cause of action.
    12                 Prior to the MDR Increases, the Plaintiffs’ Policies were valid,
    13 enforceable contracts between Plaintiffs and Class Members and Transamerica.
    14                 At all relevant times, Plaintiffs and Class Members have paid
    15 premiums to Transamerica through Monthly Deduction charges established at the
    16 inception of the Policies and have otherwise performed all their obligations under
    17 the Policies.
    18                 As alleged above, Transamerica owed duties and obligations to
    19 Plaintiffs and Class Members under the Policies including, but not limited to,
    20 refraining from imposing Monthly Deduction charges except as authorized under
    21 the terms of the Policies.
    22                 Through the MDR Increases, Transamerica has materially breached
    23 the terms and provisions of the Policies for reasons not permitted under the Policies;
    24 that is, in order to avoid its guaranteed interest and no-lapse obligations to Plaintiffs
    25 and the Class and to recoup past losses in violation of the Non-Recoupment
    26 Provision, by dramatically depleting the Policyholders’ accumulation accounts.
    27                 At a minimum, the MDR Increases are of such a magnitude that, even
    28
                                                   38
                                    CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 40 of 49 Page ID #:1068




      1 if legitimate MDR increases were a factor, Transamerica necessarily considered
      2 factors other than those permitted by the Cost Factor Provision in setting the level
      3 of the 2017 MD Increases.
      4                Transamerica’s conduct and material breaches of the Policies have
      5 proximately caused damage to Plaintiffs and the Class Members in an amount to be
      6 determined at trial.
      7                In addition, unless Transamerica is preliminarily and permanently
      8 enjoined from continuing to deduct the unlawfully increased Monthly Deduction
      9 charges, Plaintiffs and the Class Members will suffer severe and irreparable injuries
    10 for which they have no adequate remedy at law.
    11                                SECOND CAUSE OF ACTION
    12      (Contract Breach of the Implied Covenant of Good Faith and Fair Dealing –
                          Plaintiff Thompson and California Subclass I)
    13
                       Plaintiff Thompson refers to the prior paragraphs of this Complaint
    14
          and incorporates those paragraphs as though set forth in full in this cause of action.
    15
                       Prior to the MDR Increases, Plaintiffs’ Policies were valid, enforceable
    16
          contracts between Transamerica and Plaintiffs or the Class Members.
    17
                       Implied in each Policy is a contractual covenant of good faith and fair
    18
          dealing through which Transamerica owed Plaintiffs and the other members of
    19
          California Subclass I a duty to act in good faith and deal fairly, and in a manner that
    20
          did not frustrate their reasonable expectations under the Policies.
    21
                       Transamerica contractually breached the covenant of good faith and
    22
          fair dealing because, to the extent Transamerica had the discretion to increase the
    23
          MDRs, that discretion was sufficiently constrained under the terms of Policies to
    24
          support an implied obligation of good faith and fair dealing with respect to the MDR
    25
          Rate Increases.
    26
                       Transamerica exercised its discretion under the Policies in bad faith
    27
    28
                                                    39
                                     CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 41 of 49 Page ID #:1069




      1 and breached the implied covenant of good faith and fair dealing by, among other
      2 things:
      3                a.    Exercising its discretion to increase the MDRs to recoup
                             past losses;
      4
                       b.    Misleading Plaintiffs and California Subclass I members
      5                      as to the reasons for the MDR Increases;
      6                c.    Intending for the MDR Increases to force Plaintiffs and
      7                      the other members of California Subclass I to surrender
                             their policies so Transamerica would not have to pay the
      8                      death benefits; and
      9                d.    Negating the value of what were intended to be guarantee
    10                       interest rates and no-lapse protections, which
                             Transamerica has no right to do.
    11
                       Transamerica’s contractual breach of the covenant of good faith and
    12
          fair dealing has proximately caused damage to Plaintiffs and the members of
    13
          California Subclass I in an amount to be determined at the time of trial.
    14
                       In addition, unless Transamerica is preliminarily and permanently
    15
          enjoined from continuing to deduct the unlawfully increased Monthly Deduction
    16
          charges, Plaintiffs and the other members of California Subclass I will suffer severe
    17
          and irreparable injuries for which they have no adequate remedy at law.
    18
                                       THIRD CAUSE OF ACTION
    19
                   (Tortious Breach of the Duty of Good Faith and Fair Dealing –
    20
                           Plaintiff Thompson and California Subclass I)
    21                 Plaintiff Thompson refers to the prior paragraphs of this Complaint
    22 and incorporates those paragraphs as though set forth in full in this cause of action.
    23             Prior to the MDR Increases, the Policies were valid, enforceable
    24 contracts between Transamerica and Plaintiffs and the other members of California
    25 Subclass I.
    26                 Life insurance policies, like those owned by Plaintiff Thompson and
    27 the other members of California Subclass I, protect them from the economic harm
    28
                                             40
                                    CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 42 of 49 Page ID #:1070




      1 and risk presented by death. As is the case with most insurance contracts,
      2 Transamerica and the Policyholders’ financial interests are directly at odds:
      3 Transamerica benefits from increasing the charges to Policyholders and the
      4 Policyholders are harmed by such increases. As explained above, Transamerica
      5 benefits if Plaintiff Thompson and the other members of California Subclass I were
      6 to forfeit the Policies because it will have obtained premium payments without
      7 having to pay death benefits or the promised credited interest rates.
      8               For these reasons, Transamerica owes Plaintiff Thompson and the
      9 other members of California Subclass I a heightened duty of good faith and fair
    10 dealing. Among other things, Transamerica must refrain from doing anything to
    11 injure Policyholders’ right to receive the benefits of the Policies. Transamerica is
    12 required to give at least as much consideration to the welfare of the Policyholders
    13 as it gives to its own interests. Furthermore, Transamerica has a duty to reasonably
    14 inform Plaintiff Thompson and the other members of California Subclass I of their
    15 rights and obligations under the Policies.
    16                As alleged above, Transamerica has breached these duties in
    17 connection with the MDR Increases, thereby frustrating the reasonable expectations
    18 of Plaintiff Thompson and the other members of California Subclass I and
    19 tortuously depriving them of benefits under the Policies. In increasing the MDRs,
    20 Transamerica did not give proper consideration to the welfare of Plaintiff
    21 Thompson and the other members of California Subclass I and served solely its own
    22 interests at their expense. In addition, Transamerica has failed to truthfully, let alone
    23 reasonably, disclose or describe its course of conduct, or the basis and reasons for
    24 its course of conduct.
    25                Transamerica’s alleged acts and omissions were and are unreasonable
    26 and without proper cause. If left unabated, Transamerica’s conduct will frustrate
    27 and deprive Plaintiff Thompson and the other members of California Subclass I of
    28
                                                   41
                                    CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 43 of 49 Page ID #:1071




      1 the reasonably expected benefits of the Policies.
      2                Transamerica has, in particular, improperly withheld benefits due
      3 Plaintiff Thompson and the other members of California Subclass I under the
      4 Policies because the unlawful increase in the MDRs has both (a) reduced the value
      5 of their accumulation account, and (b) reduced the amount of interest credited on
      6 their accumulation accounts.
      7                Transamerica’s tortious breach of the covenant of good faith and fair
      8 dealing has proximately caused damages to Plaintiff Thompson and the other
      9 members of California Subclass I in an amount to be determined at the time of trial.
    10                 Transamerica’s conduct was intentional, deliberate, and constitutes
    11 oppression and malice. Plaintiff Thompson and the other members of California
    12 Subclass I are entitled to recover punitive and exemplary damages in an amount to
    13 be determined by the trier of fact. Plaintiff Thompson and the other members of
    14 California Subclass I also seek an order requiring Transamerica to disgorge all
    15 profits that it received in connection with the above referenced wrongful acts and
    16 omissions.
    17                 In addition, unless Transamerica is preliminarily and permanently
    18 enjoined from continuing to deduct the unlawfully increased Monthly Deduction
    19 charges, Plaintiff Thompson and the other members of California Subclass I will
    20 suffer severe and irreparable injuries for which they have no adequate remedy at
    21 law.
    22                             FOURTH CAUSE OF ACTION
    23                 (Injunctive and Restitutionary Relief Pursuant to UCL –
                            Plaintiff Thompson and California Subclass I)
    24
                       Plaintiff Thompson refers to the prior paragraphs of this Complaint
    25
          and incorporates those paragraphs as though set forth in full in this cause of action.
    26
                       Transamerica committed acts of unfair competition by engaging in,
    27
    28
                                                   42
                                     CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 44 of 49 Page ID #:1072




      1 among others, the following practices:
      2              a.    Marketing and selling the Policies on the premise that they were
      3                    a solid and good life insurance product that would provide a
                           certain death benefit for a certain cost and duration and
      4                    subsequently taking steps to prevent Policyholders from
      5                    receiving the promised benefits from those Policies by
                           suddenly, massively, and unlawfully increasing the cost of the
      6                    Policies through the MDR Increases.
      7
                     b.    Imposing the MDR Increases even though Transamerica’s
      8                    expected future mortality has improved and is better than the
      9                    mortality upon which the original MDR schedule is based -- in
                           order to increase premiums, recoup past losses, and/or force its
    10                     insureds to surrender (cancel) their Policies, all of which was,
    11                     and is, contrary to, and precluded by, the express terms of the
                           Policies. The Monthly Deduction charges were increased
    12                     effective on policy anniversary dates after August 1, 2017, so
    13                     that Transamerica could reduce the size of an unprofitable block
                           of life insurance policies, to eliminate long-anticipated losses on
    14                     the Policies, and to cause many of the Policyholders to surrender
    15                     their Policies. Transamerica breached its duties under the
                           Policies by improperly increasing the MDRs in order to recoup
    16                     past losses and gain or retain an unfair competitive advantage
    17                     over other life insurers.

    18               c.    After the sale of the Policies, continuing to send annual reports,
                           policy servicing statements, illustrations and other documents
    19
                           and correspondence to Plaintiff Thompson and the other
    20                     members of California Subclass I without disclosing that there
                           would be sudden, dramatic, and cost-prohibitive increases in the
    21
                           Monthly Deduction charges effective August 1, 2017.
    22
                     d.    Failing to provide any meaningful advance warning that it
    23                     intended to massively and suddenly increase the Monthly
    24                     Deduction charges effective August 1, 2017, through the MDR
                           Increases.
    25
    26               e.    Ultimately providing a misleading explanation to Plaintiff
                           Thompson and the other members of California Subclass I of
    27                     the grounds for the MDR Increases.
    28
                                                 43
                                  CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 45 of 49 Page ID #:1073




      1               A claim under the UCL’s “unfair” prong is predicated on a “business
      2 practice” that “violates established public policy” or is “immoral, unethical,
      3 oppressive or unscrupulous and causes injury to consumers which outweighs its
      4 benefits.” Eisen v. Porsche Cars N. Am., Inc., No. CV 11-9405 CAS (FEMx), 2012
      5 WL 841019, at *5 (C.D. Cal. Feb. 22, 2012) (citing McKell v. Washington Mut.,
      6 Inc., 49 Cal. Rptr. 3d 227, 240 (Ct. App. 2006). Transamerica violated the “unfair”
      7 prong by excessively raising the MDRs for reasons not authorized under the
      8 Policies, and unfairly shifting to Plaintiff Thompson and other members of
      9 California Subclass I: (a) losses suffered by Transamerica when the Policies ceased
    10 to be as profitable as Transamerica had hoped based on its original (but mistaken)
    11 pricing assumptions; and (b) Transamerica’s cost of meeting its obligations to pay
    12 credited interest at the 4% annual and 5.5% effective guaranteed rates.
    13                Plaintiff Thompson is informed and believes and, on that basis, alleges
    14 that the “unfair” practices alleged above are continuing in nature and are widespread
    15 practices engaged in by Transamerica.
    16                On behalf of the general public and California Subclass I, Plaintiffs
    17 respectfully requests that the Court issue an injunction against Transamerica
    18 preliminarily and permanently enjoining it from continuing to engage in unfair
    19 conduct and preventing Transamerica from collecting the unlawfully and unfairly
    20 increased MDRs in violation of the Policies.
    21                On behalf of the general public and California Subclass I, Plaintiff
    22 Thompson furthermore respectfully requests that this Court order restitution to be
    23 paid by Transamerica to her and other members of California Subclass I for
    24 Monthly Deduction charges, premiums, and other amounts wrongfully required,
    25 obtained and collected as the result of the MDR Increases in violation of the
    26 Policies.
    27                Plaintiff Thompson respectfully requests an award of attorneys’ fees
    28
                                                 44
                                   CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 46 of 49 Page ID #:1074




      1 as the prevailing party in her request for injunctive relief and restitutionary relief
      2 against Transamerica on behalf of herself and the other members of California
      3 Subclass I.
      4                            FIFTH CAUSE OF ACTION
      5                (For Declaratory Relief –All Plaintiffs and All Classes)
      6               Plaintiffs refer to the prior paragraphs of this Complaint and
      7 incorporate those paragraphs as though set forth in full in this cause of action.
      8               An actual controversy has arisen and now exists between Plaintiffs and
      9 the Class Members, on the one hand, and Transamerica, on the other hand,
    10 concerning the respective rights and duties of the parties under the Policies.
    11                Transamerica contends that it lawfully and appropriately increased
    12 MDRs effective beginning August 1, 2015, through the MDR Increases, has
    13 appropriately collected (and is still collecting) Monthly Deduction charges based
    14 on the elevated MDRs, and that it is permitted to continue to collect these charges
    15 for the duration of the Policies. On the other hand, Plaintiffs and Class Members
    16 maintain that Transamerica, through the MDR Increases, has inappropriately and
    17 unlawfully, in material breach of the express and implied terms of the Policies,
    18 collected inflated Monthly Deduction charges.
    19                 Plaintiffs, on behalf of themselves and the Classes, seek a declaration
    20 as to the parties’ respective rights under the Policies and request the Court to declare
    21 that the MDR Increases are unlawful and in material breach of the Policies’ terms
    22 so that future controversies may be avoided.
    23                             SIXTH CAUSE OF ACTION
    24           (For Elder Abuse – Plaintiff Thompson and California Subclass II)
    25                Plaintiff Thompson refers to the prior paragraphs of this Complaint
    26 and incorporate those paragraphs as though set forth in full in this cause of action.
    27                This cause of action is brought under California's Welfare and
    28
                                                  45
                                    CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 47 of 49 Page ID #:1075




      1 Institutions Code section 15610, et seq.
      2               Plaintiff Thompson and each member of California Subclass II were
      3 65 years or older at all times relevant to this claim.
      4               By imposing the MDR Increases, Transamerica took, depleted,
      5 appropriated and/or retained the personal property of Plaintiff Thompson and the
      6 other members of California Subclass II in bad faith for a wrongful use, which
      7 constitutes financial abuse as defined in California Welfare & Institutions Code
      8 section 15610.30.
      9               Transamerica is guilty of oppression and malice in the commission of
    10 the above-described acts of abuse. At a minimum, Transamerica knew or should
    11 have known that its conduct was likely to be harmful to elders.
    12                Under California Civil Code section 3294 Transamerica is liable to
    13 Plaintiff Thompson and the other members of California Subclass II for punitive
    14 damages.
    15                Under California Welfare & Institutions Code section 15657.5
    16 Transamerica is liable to Plaintiff Thompson and the other members of California
    17 Subclass II for reasonable attorney fees and costs.
    18                                 PRAYER FOR RELIEF
    19          WHEREFORE, Plaintiffs, individually and on behalf of the Classes, pray for
    20 relief as follows as applicable for the particular cause of action:
    21          A.    An Order certifying this action to proceed on behalf of the National
    22 Class and the California Subclasses, and appointing Plaintiffs and the counsel listed
    23 below to represent the respective Classes;
    24          B.    An Order awarding Plaintiffs and Class Members entitled to such relief
    25 restitution and/or disgorgement and such other equitable relief as the Court deems
    26 proper;
    27
    28
                                                   46
                                    CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 48 of 49 Page ID #:1076




      1         C.     An Order enjoining Transamerica, its representatives, and all others
      2 acting with it or on its behalf from using MDRs based on the MDR Increases and
      3 from unlawfully charging excessive Monthly Deduction Rates for the Policies and
      4 requiring those rates to be at levels that are consistent with the terms of the policies,
      5 and other appropriate injunctive relief;
      6         D.     An Order providing a declaration that the MDR Increases materially
      7 breach the Policies, and that Transamerica must determine the MDRs only on the
      8 grounds authorized under the Policies;
      9         E.     An Order awarding Plaintiff Thompson and the other members of the
    10 California Subclasses who might be entitled to such relief actual, compensatory,
    11 statutory, punitive, and/or exemplary damages;
    12          F.     An Order awarding Plaintiffs’ attorneys’ fees, expert witness fees and
    13 other costs pursuant to the state statutory causes of action set forth above that permit
    14 such an award; and
    15          G.     An Order awarding such other and further relief as may be just and
    16 proper, including pre-judgment and post-judgment interest on the above amounts.
    17                             DEMAND FOR JURY TRIAL
    18          Plaintiffs demand a jury trial.
    19 Dated: May 8, 2019.
    20                                   BONNETT FAIRBOURN FRIEDMAN
                                         & BALINT, PC
    21                              By: /s/Andrew S. Friedman
    22                                   Andrew S. Friedman (admitted Pro Hac Vice)
                                         Francis J. Balint, Jr. (admitted Pro Hac Vice)
    23                                   2325 East Camelback Road, Suite 300
                                         Phoenix, Arizona 85016
    24                                   Tel: (602) 274-1100; Fax: (602) 274-1199
                                         afriedman@bffb.com
    25                                   fbalint@bffb.com

    26                                   CONSUMER WATCHDOG
                                         Harvey Rosenfield (SBN: 123082)
    27                                   Jerry Flanagan (SBN: 271272)
                                         6330 San Vicente Blvd., Suite 250
    28
                                                   47
                                     CLASS ACTION COMPLAINT
Case 2:18-cv-05422-CAS-GJS Document 91 Filed 05/08/19 Page 49 of 49 Page ID #:1077



                                    Los Angeles, CA 90048
      1                             Tel: (310) 392-0522; Fax: (310) 392-8874
                                    Harvey@consumerwatchdog.org
      2                             jerry@consumerwatchdog.org
      3                             THE MOSKOWITZ FIRM, PLLC
                                    Adam Moskowitz (admitted Pro Hac Vice)
      4                             Howard Bushman (admitted Pro Hac Vice)
                                    Adam Schwartzbaum (admitted Pro Hac Vice)
      5                             2 Alahambra Plaza, Suite 601
                                    Coral Gables, FL 33134
      6                             Tel: 305-740-1423; Fax: 786-298-5737
                                    adam@moskowitz-law.com
      7                             howard@moskowitz-law.com
                                    adams@moskowitz-law.com
      8
                                    PATTERSON LAW GROUP
      9                             James R. Patterson (SBN 211102)
                                    Allison H. Goddard (SBN 211098)
    10                              Catherine S. Wicker (SBN 306494)
                                    402 West Broadway, 29th Floor
    11                              San Diego, California 92101
                                    Tel: (619) 756-6990; Fax: (619) 756-6991
    12                              jim@pattersonlawgroup.com
                                    ali@pattersonlawgroup.com
    13                              catherine@pattersonlawgroup.com
    14                              BARRACK, RODOS & BACINE
                                    Stephen R. Basser (SBN 121590)
    15                              Mark R. Rosen (SBN 139506)
                                    Samuel M. Ward (SBN 216562)
    16                              One America Plaza
                                    600 West Broadway, Suite 900
    17                              San Diego, CA 92101
                                    Tel: (619) 230-0800; Fax: (619) 230-1874
    18                              sbasser@barrack.com
                                    sward@barrack.com
    19                              mrosen@barrack.com
    20                              EMERSON SCOTT, LLP
                                    John G. Emerson (to be admitted Pro Hac Vice)
    21                              830 Apollo Lane
                                    Houston, TX 77058
    22                              Tel: (281) 488-8854; Fax: (281) 488-8867
                                    jemerson@emersonfirm.com
    23
                                    EMERSON SCOTT, LLP
    24                              David G. Scott (to be admitted Pro Hac Vice)
                                    The Rozelle-Murphy House
    25                              1301 Scott Street
                                    Little Rock, AR 72202
    26                              Tel: (501) 907-2555; Fax: (501) 907-2556
                                    dscott@emersonfirm.com
    27
                                    Attorneys for Plaintiffs
    28
                                             48
                                CLASS ACTION COMPLAINT
